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            United States District Court for the Western

                                District of Michigan

     GUN OWNERS OF AMERICA, INC., et
     al.

                                                Plaintiff,

      vs.                                                                           Case No. 1:18-cv-01429

     WILLIAM P. BARR, et al.



                                             Defendant.



                                NOTICE OF APPEAL
Notice is hereby given that Plaintiffs Gun Owners of America, et al.                                         ,
                                        Name all parties taking the appeal


hereby appeal to the United States Court of Appeals for the Sixth Circuit from

Opinion and Order Denying Plaintiffs' Motion for a Preliminary Injunction
                                  The final judgment, from an order describing it


entered in this action on the   21st     day of                                             March , 2019     .


                                                   (s) Kerry L. Morgan
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                                                   Attorney for Gun Owners of America, Inc., et al

Note to inmate filers: If you are an inmate confined in an institution and you seek the timing
benefit of Fed. R. App. P. 4(c)(1), complete Form 7 (Declaration of Inmate Filing) and file that
declaration along with this Notice of Appeal.

cc: Opposing Counsel ✔
    Court of Appeals ✔

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11/16
